Case 3:15-0r-OO41§N<[MHB¢MA]§E§(§)Q§M&¥ Cg€§q,l of 1 Page|D 177

FOR THE-NQRZI-`-HERN-DISTRICT -GF~ TEXAS

UNITED STATES OF AMERICA §
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vs. §

  

CASE No.= 3=15-CR-411-K (01)

AMECHI COLVIS AMUEGBUNAM

 

REPoR§ ANDREC<§%\QENDATIoN
CONCERNING PLEA OF GUILTY

AMECHI COLVIS AMUEGBUNAM, by consent, under authority of United States v. Dees, 125 F.3d 261
(5th Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One
Count Superseding Information, filed on February 23, 2017. Af`ter cautioning and examining Defendant Amechi
Colvis Amuegbunam, under oath concerning each of the subjects mentioned in Rule 1 1, 1 determined that the guilty
plea was knowledgeable and voluntary and that the offense charged is supported by an independent basis in fact
containing each of the essential elements of such offense. I therefore recommend that the plea of guilty be accepted,
and that Defendant Amechi Colvis Amuegbunam, be adjudged guilty of Conspiracy to Commit Wire Fraud, in
violation of 18 USC § 371[18 USC § 1343], and have sentence imposed accordingly. Af`ter being found guilty of the
offense by the district judge.

The defendant is currently in custody and should be ordered to remain in custody.
[] The defendant must be ordered detained pursuant to 18 U.S.C. § 3 143 (a)(l) unless the Court finds by clear and

convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
community if released.

1:1 The Government does not oppose release.
|] The defendant has been compliant with the current conditions of release.
[] I find by clear and convincing evidence that the defendant is not likely to fiee or pose a danger to any

other person or the community if released and should therefore be released under § 3142(b) or (c).

The Govemment opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Govemment.

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13 The defendant must be ordered detained pursuant to 18 U.S.C. § 3 143(a)(2) unless (1)(a) the Court finds there
is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Govemment has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
shown under § 3145(c) why the defendant Should not be detained, and (2) the Court finds by clear and
convincing evidence that the defendant is not likely to or pose a danger to any other person or the
community if released.

   

Signed March 7, 2017

 

DAVID HORAN
UNITED STATES MAGISTRATE JUDGE

NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).

